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				RE: SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2017 OK 21Decided: 03/20/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 21, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the continuing education requirements for calendar year 2016 and/or with the annual certificate renewal requirements for 2017. 
Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date. 
IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 15, 2017.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 20th day of MARCH, 2017. 
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR
Exhibit


Name

CSR #

Reason


Shelly Brown

1669

Continuing Education


Sherri Brown

1925

Continuing Education/Renewal


Rebecca Coffman

1018

Continuing Education/Renewal


Kelley Dalton

1919

Continuing Education/Renewal


M. Darlene Estes

996

Renewal


Brenda Goode

1518

Continuing Education/Renewal


Vicky Hamilton

1874

Continuing Education/Renewal


Connie Johnson

1298

Continuing Education/Renewal


Charlotte Mathias

1972

Continuing Education/Renewal


Teresa St. Clair

1267

Renewal


Michelle Watson

1771

Continuing Education/Renewal


Angela Weaver

1202

Continuing Education/Renewal


Kimala Woods

1997

Continuing Education/Renewal



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